              Case 3:21-cv-01585-S Document 9 Filed 09/08/21                         Page 1 of 1 PageID 68
BTXN 100 (rev. 12/14)
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS


In Re:                                                         §
Highland Capital Management, L.P.                              §    Case No.: 19−34054−sgj11
                                                               §    Chapter No.: 11
                                              Debtor(s)        §    Civil Case No.:   3:21−CV−01585−S
                                                               §
The Charitable DAF Fund, L.P. and CLO Holdco, Ltd              §
                                    Appellant(s)               §
     vs.                                                       §
Highland Capital Management, LP                                §
                                    Appellee(s)                §
                                                               §
                                                               §
                                                               §
                                                               §


                 TRANSMITTAL AND CERTIFICATION OF RECORD ON APPEAL
     Pursuant to Federal Rules of Bankruptcy Procedure 8010, the appeal filed on 7/2/2021 regarding [2506] Order
denying motion for modification of order authorizing retention of James P. Seery, Jr. Entered on 6/30/2021. by The
Charitable DAF Fund, L.P. and CLO Holdco, Ltd in the above styled bankruptcy case is hereby transmitted to the
U.S. District Court for the Northern District of Texas.

     This record on appeal contains all items listed on the attached index, but is not in compliance with Rule 8009 of
the Federal Rules of Bankruptcy Procedure and is deficient for the following reason(s):

                Appeal not timely filed.
                Appeal filing fee not paid.
                Appellant(s) failed to file designation of the record.
                Appellant(s)/Appellee(s) failed to provide or prepay for the items designated.
                Appellee failed to provide court admitted exhibits for hearings: January 9, 2020 (doc 335); AND
                July 14, 2020 (doc 836)

     All further pleadings or inquiries regarding this matter should be directed to the U.S. District Clerk's Office until
such time as the appeal is fully processed in the U.S. District Court.

      The above referenced record was delivered to the U.S. District Clerk's Office on September 8, 2021.



DATED: 9/8/21                                       FOR THE COURT:
                                                    Robert P. Colwell, Clerk of Court

                                                    by: /s/J. Blanco, Deputy Clerk
